        Case 1:19-mc-00029-CRC Document 9-1 Filed 03/27/19 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE APPLICATION OF
 THE ASSOCIATED PRESS; CABLE NEWS
 NETWORK, INC.; THE NEW YORK TIMES                       Misc. Action No. 19-0029 (ABJ)
 CO.; POLITICO LLC; AND WP CO., LLC, d/b/a
 THE WASHINGTON POST FOR ACCESS TO
 CERTAIN SEALED COURT RECORDS


                                     [Proposed] ORDER

       Upon consideration of the government’s Unopposed Motion for a Two-Week Extension of

Time in Which to File a Response to Media Coalition’s Motion for Public Access to Sealed Court

Records, it is hereby

       ORDERED that the government’s motion is GRANTED; and it is further

       ORDERED that the government shall respond to the motion for public access as set forth

in the Court’s March 1, 2019 order by April 12, 2019, any response to the motion on behalf of

defendant Roger Stone is due by April 26, 2019, and the applicants’ reply, if any, is due by May

10, 2019.




________________                            __________________________________
Date                                        HON. AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE
